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                                               Independent
                                 Epstein Victims’ Compensation Program

                                                PROTOCOL

                                              May 29, 2020


   I.      PURPOSE AND OVERVIEW
The Epstein Victims’ Compensation Program (the “Program”) is a voluntary, independent Program that
has been established to compensate and resolve the claims of victims-survivors of sexual abuse by
Jeffrey Epstein (“Epstein”).
The Estate of Jeffrey Epstein (the “Estate”) has retained the services of nationally recognized claims
administration experts Kenneth R. Feinberg, Camille S. Biros and Jordana H. Feldman to design the
Program. Ms. Feldman will also serve as the Administrator of the Program (the “Administrator”). This
Protocol reflects input from victims-survivors, their lawyers, other potentially interested parties, and
representatives of the Estate.
Through the Program, the Estate wishes to acknowledge the wrongs endured by victims-survivors and
offer them an opportunity to voluntarily resolve their individual claims for such sexual abuse.
The Program is governed by the following non-exclusive guiding principles:

   x    The Program is purely voluntary. It does not affect any rights a Claimant may have
        unless and until the Claimant accepts the offered compensation and executes a
        Release. A Claimant may reject the offer of compensation and may stop
        participating in the Program and withdraw the claim at any time prior to execution
        of the Release.

   x    The Program is independent and will in no way be administered, controlled or
        overseen by the Estate. The Administrator is responsible for all decisions relating to
        the review, processing and evaluation of individual claims submitted to the
        Program. The Administrator will have final, binding and exclusive authority to
        determine Claimant eligibility and the valuation of each eligible individual claim.
        Decisions of the Administrator made pursuant to this Protocol are not subject to
        review or modification in any way by the Estate or any other party or entity.

   x    There is no cap or limitation on the aggregate amount of funds available to
        compensate all eligible Claimants or on the amount of compensation to be made to
        each individual Claimant. Each individual claim will be evaluated separately by the
        Administrator. The Administrator will determine, in her sole and exclusive
        discretion, issues of eligibility and the amount of compensation and the Estate will
        pay all eligible claims based on the Administrator’s determination.
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   x   All Claimants will be treated with respect, dignity and fairness without regard to
       race, color, sexual orientation, national origin, religion, gender or disability. To
       ensure claims will be adjudicated fairly, the Administrator will manage the process
       so that all Claimants can equally access the Program’s claim process. Individuals
       with disabilities will be given the opportunity to effectively communicate their
       claims and to request special process accommodations.
The Program is available to all victims-survivors regardless of where they were harmed, when they were
harmed, whether the claim is time-barred by the applicable statute of limitations, and whether they
have previously filed a lawsuit against or settled with Epstein and/or the Estate.
The exclusive claims period for filing a claim pursuant to this Protocol shall commence on the to-be-
determined Effective Date and shall conclude nine (9) months after that date (“Filing Deadline”). All
individual claims filed with the Program must be filed within this period.
To complement the Program’s resources, the Administrator will, at her discretion and with the consent
of the Claimant, consult with Professor Marci A. Hamilton, a nationally recognized sexual abuse expert,
leading legal academic and advocate of victims’ rights. Ms. Hamilton’s role will be to further inform the
Administrator and her staff about the dynamics of sexual abuse, common responses to sexual abuse,
and the impact of sexual abuse on victims; to serve as a resource for the Administrator in developing or
updating policies and procedures; to advise the Administrator regarding sensitivities involved in
interactions with victims; and to serve as a referral source for the Administrator in providing post-
determination information to claimants who seek guidance, counseling or other services. The
Administrator may, at her discretion and with the Claimant’s prior written consent, request that Ms.
Hamilton review an individual claimant file. The Administrator will determine on a case-by-case basis, in
her discretion, the need to anonymize individual claimants’ files before sharing them with Ms. Hamilton.
As set forth above, the Administrator is solely responsible for all decisions relating to the administration
of the Program, including the review, processing, evaluation, and determination of individual claims
submitted to the Program.
During the term of the Program, Ms. Hamilton will not meet or speak with a Claimant or her
representatives concerning any aspect of the Program without the Administrator present. Ms. Hamilton
will maintain in strict confidence and will not disclose outside the Program any information she obtains
through her participation in the Program, including individual Claimants’ submissions.




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   II.     ELIGIBILITY REQUIREMENTS

             A. Eligibility Criteria
The persons eligible to participate in this Program are individuals who allege they were sexually abused
by Epstein. In addition, the following criteria apply:

     x   The claim of sexual abuse must be directed against Epstein.

     x   An individual whose claim is time-barred by the applicable statute of limitations may
         participate in the Program provided that other eligibility criteria are met.

     x   An individual who previously entered into a settlement agreement resolving a claim of sexual
         abuse against Epstein may participate in the Program provided that other eligibility criteria are
         met.

     x   An individual who allegedly assisted Epstein in procuring other victims-survivors may
         participate in the Program where there is a credible basis to determine that the individual
         acted under duress as a result of her own sexual abuse by Epstein, provided that other
         eligibility criteria are met.

     x   If the Claimant chooses to accept the offered compensation, the Claimant must dismiss with
         prejudice any existing lawsuits, legal actions or claims filed against the Estate or related entities
         and/or related individuals. The Claimant must provide proof of such dismissal along with or
         prior to the signed acceptance of the compensation determination offer letter and executed
         Release in order to receive payment.

               B. Legal Representatives of Claimants

An individual may file a claim on a victim’s behalf where that individual has been granted legal authority
to act in a representative capacity pursuant to appropriate law. The “Legal Representative” of an
individual Claimant shall mean: (1) in the case of a Claimant who is currently a minor, a parent or legal
guardian authorized by law to serve as the minor’s legal representative; (2) in the case of an
incompetent or legally incapacitated Claimant, a person who has been duly appointed as the Claimant’s
legal representative in accordance with applicable law; (3) in the case of a deceased Claimant, a person
who has been duly appointed to act as the personal representative of the Claimant’s estate by a court of
competent jurisdiction and is authorized to file and compromise a claim; or (4) an attorney authorized to
represent the Claimant for purposes of pursuing a claim through this Program.

Legal Representatives must provide proper documentation demonstrating representative capacity. Such
proof may include a power of attorney; documentation showing the individual’s appointment as
guardian or guardian ad litem; documentation showing the individual’s appointment as personal
representative of the Claimant’s estate (such as letters of administration); a copy of a retainer

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agreement showing legal representation signed by both the Claimant and the attorney or a signed
statement by an adult Claimant and the attorney that a licensed/admitted attorney is acting on her
behalf.


   III.    CLAIMS ADMINISTRATION - SUBMISSION, EVALUATION AND DETERMINATION
           A. Claims Submission Process
Individuals who have filed a lawsuit, legal action or claim against Epstein and/or the Estate or have
otherwise been identified as a victim of Epstein by their attorney to the Administrator on or before the
Effective Date will be sent a Claim Form and other relevant Program information, including Instructions
for completion and submission of the Claim Form and a copy of this Protocol. Individuals who have filed
a lawsuit need not agree to a stay of litigation or make any other concession in any pending litigation to
be eligible to participate in the Program. Likewise, individuals who have not yet filed a lawsuit remain
free to file a lawsuit and engage in litigation concurrently with participation in the Program. Individuals
must, however, dismiss with prejudice any and all existing lawsuits, legal actions and claims prior to or at
the time of acceptance of a compensation determination offer in order to receive payment.
Individuals who have not filed a lawsuit, legal action or claim against Epstein and/or the Estate or have
not otherwise been identified as a victim of Epstein by their attorney to the Administrator on or before
the Effective Date may register to participate in this Program on the Program’s website at
www.EpsteinVCP.com. To register, such individuals must complete a questionnaire setting forth their
name, contact information, a summary description of the nature of the claim and other requested
information. Upon registration, the Administrator will perform a preliminary review to consider if the
individual is eligible to participate in the Program. If the Administrator deems that the individual is
eligible to participate in the Program, she will then send that individual a Claim Form and other relevant
Program information.
Note: The fact that an individual is sent a Claim Form and other relevant Program information indicates
that the Administrator has determined that such individual is eligible to participate in the Program. It
does not indicate that the Administrator has determined that such individual is eligible to receive
compensation. That determination is made only after a Claim Form and all required documentation has
been submitted and evaluated by the Administrator.
Registrations for individuals who have not filed a lawsuit, legal action or claim against Epstein and/or the
Estate or have not otherwise been identified as a victim of Jeffrey Epstein by their attorney to the
Administrator on or before the Effective Date will be accepted by the Administrator from the Effective
Date through a date that is 45 days prior to the Filing Deadline (“Registration Deadline”). It is important
to note that the Registration Deadline is separate from, and precedes, the Filing Deadline. As explained
above, all claims must be filed by the Filing Deadline.




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All Claim Forms must be completed to the best of a Claimant’s ability and filed no later than the Filing
Deadline. Claim Forms should be uploaded to the Program website at www.EpsteinVCP.com, or mailed
via overnight courier (a pre-paid courier voucher will be included with each packet) to the Administrator
at the following address:

                      Epstein Victims’ Compensation Program
                      Attn: Jordana H. Feldman, Administrator
                      1050 Connecticut Ave., NW
                      #65488
                      Washington, D.C. 20035

Claimants are invited to provide documentation identified in the Claim Form, and any other
corroborating or supporting information sufficient to substantiate the claim, satisfy eligibility
requirements, and allow the Administrator to review, process and evaluate the claim. If the claim is
being presented by a Legal Representative, then the Legal Representative will be responsible for
submitting the necessary documentation relating to the represented Claimant.
Additional documentation may be requested at the discretion of the Administrator. Both the Claimant
and the Estate will be afforded the opportunity to submit to the Administrator any information deemed
relevant to the Administrator’s evaluation and determination of the claim before the Administrator’s
final disposition of the claim.
If a Claimant submits an incomplete or deficient claim, the Administrator will notify the Claimant,
explain the additional information that is needed, and work with the Claimant or the Claimant’s Legal
Representative (where applicable) to assist in submitting a complete claim.


           B. Claims Evaluation and Determination
Claims will be evaluated in the order in which they are received, with the Administrator evaluating each
submitted individual claim in a prompt and fair manner. Claims will only be determined once all
required documentation has been submitted to the Administrator, with due consideration granted to
Claimant’s good faith explanations for delays and/or absence of documentation.
               1. Factors Considered in Evaluating Claims
As to each individual claim, the Administrator will determine, in her sole discretion based upon all of the
information available, whether the allegations of sexual abuse are credible. The Administrator will
consider appropriate factors and corroborative support, including but not limited to:

     x   The level of documentation, corroboration or other circumstantial evidence regarding the
         nature and extent of the abuse, the frequency, location and other details of the abuse, and the
         age of the victim at the time of the abuse. Non-exhaustive examples of such evidence include
         (i) medical or psychiatric counseling/therapy records relevant to the abuse, and
         (ii) contemporaneous written notification or other correspondence (e.g., letters, emails) of the
         abuse by the Claimant to law enforcement authorities, parents, friends or others. The

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         Administrator acknowledges that some Claimants may not be able to provide any
         documentation to corroborate their Claim based on the nature and circumstances of Epstein’s
         conduct. If a Claimant’s written and oral presentation is deemed to be credible by the
         Administrator, the Claimant may still be eligible for compensation under the Program.

     x   Whether there exists any information and/or pertinent findings offered by the appropriate
         Office of the District Attorney, United States Attorney’s Office, or other law enforcement
         agency.

     x   Whether the Administrator finds the claims of the individual to be credible after complete
         review of all relevant documentation and other evidence provided by the Claimant and the
         Estate.

As to each individual claim, the Administrator will determine, in her sole discretion based upon all of the
information available, the amount of compensation that should be offered to each eligible Claimant.
The Administrator will consider appropriate factors and corroborative support, including but not limited
to:

     x   The nature, duration and extent of the sexual abuse suffered by the Claimant.

     x   The age of the Claimant at the time of the sexual abuse.

     x   The nature and extent of the Claimant’s physical or psychological damage resulting from the
         sexual abuse, and the effect of the sexual abuse on the Claimant.

     x   The credibility of the claim based upon all of the facts and circumstances, supporting
         documentation and corroborating evidence.

     x   Whether the Claimant previously entered into a settlement agreement with Epstein and
         received a payment pursuant to such agreement.

The Administrator will confidentially send the Claimant a compensation determination offer letter
including the following: (1) the Administrator’s eligibility decision regarding the claim; (2) the amount of
compensation offered; (3) a Release to be signed by the Claimant if the Claimant accepts the offered
compensation; and (4) a Payment Option Form. The Administrator’s offer shall be valid for 60 days from
the date of the compensation determination offer letter.
The Administrator’s determinations in this Program will not be binding on any potential criminal
investigation involving Claimant’s claims.

               2. Opportunities to be Heard
The Claimant will be afforded an opportunity to be heard, either before or after the Administrator
renders her determination. Upon request by the Claimant, the Administrator will be available to meet in
person (as practicable in light of the COVID-19 pandemic), by video conference, or by teleconference to

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further discuss the claim. These meetings are completely optional and voluntary. Requests to meet
with the Administrator should be sent by email to ClaimantServices@EpsteinVCP.com and will be
scheduled at a mutually convenient time and location. The Administrator may also request a meeting
with a Claimant or her Legal Representative at a reasonable mutually convenient time and location,
though the Claimant is not obligated to attend any such meeting.

               3. Release

 By submitting a claim to the Program, a Claimant is seeking to resolve all claims relating to allegations
 of sexual abuse against Epstein and/or the Estate, and related entities and individuals as set forth in the
 Release. If a Claimant chooses to accept the offer of compensation pursuant to the Program, the
 Claimant will be required to sign and execute a full Release, in a form satisfactory to the Estate, of all
 past and future claims (including lis pendens, writs of attachment, etc.)relating to such allegations of
 sexual abuse against the Estate, related entities and/or related individuals. A Claimant may reject the
 offer of compensation and may stop participating in the Program and withdraw the claim at any time
 prior to the execution of the Release.

 The Release will waive any rights the Claimant and her heirs, descendants, legatees or beneficiaries
 may have to assert any claims relating to allegations of sexual abuse against the Estate, related
 entities and/or related individuals, to file an individual legal action relating to such allegations, or to
 participate in any civil legal action associated with such allegations, except as a witness. However,
 the Release will not operate to preclude or limit the Claimant’s ability to report and discuss
 allegations of sexual abuse with law enforcement officials or anyone else. In other words, the
 Release will not impose any rules of confidentiality on claimants, who are expressly permitted to
 discuss their allegations without restriction, should they choose.

 Before signing a Release, the Claimant must consult with an attorney selected by the Claimant. If the
 Claimant is not represented by an attorney, the Program will provide an attorney to provide free legal
 counseling to the Claimant for the sole purpose of advising the Claimant concerning the language and
 binding nature of the Release.

 No one affiliated with the Program will provide tax or legal advice to those receiving payments under
 the Program. Claimants are urged to consult with a tax advisor concerning any questions regarding
 tax liability for payments pursuant to the Program.

               4. Payments

 Upon the Claimant’s acceptance of the Administrator’s determination, the Administrator’s receipt of
 the Claimant’s executed Release and, where applicable, dismissal with prejudice of any existing
 lawsuit, legal actions or claims against the Estate or related entities and/or related individuals, the
 Administrator will initiate payment by check or electronic funds transfer to each eligible Claimant as
 directed by the Claimant. Checks will be sent to Claimants via overnight courier service. All
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    payments made under the Program shall be for a Claimant’s physical injuries, physical sickness and
    resulting emotional distress within the meaning of Section 104(a) of the Internal Revenue Code.


             C. Program Integrity

    For the purpose of protecting both the integrity of the Program and financial resources for eligible
    Claimants, the Administrator will institute all necessary measures to prevent payment of fraudulent
    claims, including taking steps to verify claims and analyze submissions for inconsistencies,
    irregularities or duplication.

    Each Claimant who signs the Claim Form at the time of submission certifies that the information
    provided in the Claim Form is true and accurate to the best of the Claimant’s knowledge, and that the
    Claimant understands that false statements or claims made in connection with such submission may
    result in fines, imprisonment and/or any other remedy available by law. Claims that appear to be
    potentially fraudulent or to contain information known by the Claimant to be false when made will be
    forwarded to federal, state or local law enforcement agencies and/or the appropriate Office of the
    District Attorney and/or United States Attorney’s Office for possible investigation and prosecution.

             D. Confidentiality/Privacy

    The Program is confidential.1 By filing a claim with the Program, the Claimant or her Legal
    Representative (where applicable) agrees that information submitted by the Claimant pursuant to
    the Program will be used and/or disclosed by the Administrator and her designees only for the
    following purposes:

       1) Processing and evaluating the Claimant’s claim;
       2) Administering the Program and other Program-related work; and
       3) Reports to law enforcement where appropriate, related to potentially fraudulent claims.

    When documents or other information maintained or submitted by the Estate become part of a
    Claimant’s file for purposes of the Program, such materials will be reviewed by the Administrator to
    assist in processing and evaluating the claim, but will otherwise remain confidential. No information
    provided by Claimants will be provided to the Estate except for the Claimant’s name and the date(s)
    and location(s) of the alleged abuse, for the sole purpose of processing and evaluating the claim and,
    for purposes of the Release, the names of any other individual(s) to whom or by whom the Claimant
    alleges she was trafficked or sexually abused. The Estate has agreed that no information obtained
    solely through the Program will be disclosed publicly or used by the Estate in defending itself from any
    claim, regardless of forum. The Program’s files are not available for inspection, review or copying by
    the Estate or the Claimant or her representatives during or after the Program, and all pertinent

1
 All parties agree that they are using the services of a third-party administrator to help reach a resolution of individual claims
of sexual abuse, and that this Program is entitled to confidentiality, privileges (mediation, settlement and all other pertinent
privileges), and protection from disclosure under applicable law.
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mediation privileges, settlement privileges and other privileges apply.


To protect the privacy of Claimants participating in the Program, all personal information provided by
the Claimant during this process will be returned or destroyed within one year after the conclusion of
the Program.

Individual Claimants are not bound through the Program by any rules of confidentiality. Claimants may,
at their sole and voluntary option, disclose information in their possession regarding their claim, their
compensation and their experience with the Program.

All confidentiality requirements are subject to law, regulation and judicial process. 

          E. Reporting

The Administrator shall, on a monthly basis, confidentially provide reports regarding the number and
total value of claims paid each month to the Probate Court of the United States Virgin Islands and the
Attorney General of the United States Virgin Islands. Such reports will report on an aggregate level
only. No individual Claimant information will be published or disclosed in a way that compromises
Claimant confidentiality.




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